Official Form 417A (12/18)




                                 [Caption as in Form 416A, 416B, or 416D, as appropriate]

                            NOTICE OF APPEAL AND STATEMENT OF ELECTION


       Part 1: Identify the appellant(s)
           1. Name(s) of appellant(s):Janice Carrington
              _________________________________________________________________________

           2. Position of appellant(s) in the adversary proceeding or bankruptcy case that is the subject of this
              appeal:

                 For appeals in an adversary proceeding.           For appeals in a bankruptcy case and not in an
                  Plaintiff                                       adversary proceeding.
                  Defendant                                       X Debtor
                                                                   
                  Other (describe) ________________________        Creditor
                                                                    Trustee
                                                                    Other (describe) ________________________

       Part 2: Identify the subject of this appeal
                                                                      Order to Convert from Chapter 11
           1. Describe the judgment, order, or decree appealed from: ____________________________
                                                                      to Chapter 7
                                                                                    June 23, 2023
           2. State the date on which the judgment, order, or decree was entered: ___________________

       Part 3: Identify the other parties to the appeal

       List the names of all parties to the judgment, order, or decree appealed from and the names, addresses,
       and telephone numbers of their attorneys (attach additional pages if necessary):

           1. Party: _________________           Attorney: ______________________________
                                                           ______________________________
                                                           ______________________________
                                                           ______________________________

           2. Party: _________________           Attorney: ______________________________
                                                           ______________________________
                                                          ______________________________
                                                          ______________________________




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Part 4: Optional election to have appeal heard by District Court (applicable only in
certain districts)

If a Bankruptcy Appellate Panel is available in this judicial district, the Bankruptcy Appellate Panel will
hear this appeal unless, pursuant to 28 U.S.C. § 158(c)(1), a party elects to have the appeal heard by the
United States District Court. If an appellant filing this notice wishes to have the appeal heard by the
United States District Court, check below. Do not check the box if the appellant wishes the Bankruptcy
Appellate Panel to hear the appeal.

            Appellant(s) elect to have the appeal heard by the United States District Court rather than by
             the Bankruptcy Appellate Panel.


Part 5: Sign below
/Janice Carrington/                                                                 July 5, 2023
_____________________________________________________                        Date: ____________________________
Signature of attorney for appellant(s) (or appellant(s)
if not represented by an attorney)

Name, address, and telephone number of attorney
(or appellant(s) if not represented by an attorney):
_____________________________________________________
_____________________________________________________
_____________________________________________________
_____________________________________________________




Fee waiver notice: If appellant is a child support creditor or its representative and appellant has filed the
form specified in § 304(g) of the Bankruptcy Reform Act of 1994, no fee is required.


[Note to inmate filers: If you are an inmate filer in an institution and you seek the timing benefit of Fed.
R. Bankr. P. 8002(c)(1), complete Director’s Form 4170 (Declaration of Inmate Filing) and file that
declaration along with the Notice of Appeal.]




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